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                                                                                                   E-FILED
                                                               Tuesday, 12 October, 2010 11:33:35 AM
                                                                        Clerk, U.S. District Court, ILCD

                            UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF ILLINOIS
                                  URBANA DIVISION

IN THE MATTER OF:                           )
                                            )
LAWRENCE C. BARBEE,                         )
                                            )
       Plaintiff,                           )
                                            )
       vs.                                  )       No. 09-CV-2056
                                            )
CHRISTY - FOLTZ, INC.,                      )       JURY DEMANDED
                                            )
       Defendant.                           )

                                FINAL PRE-TRIAL ORDER

       This matter is before the Court at a Final Pre-Trial Conference held pursuant to Rule 16,

Federal Rules of Civil Procedure.

       Plaintiff Counsel:

       Mary Lee Leahy, 1599534
       Leahy Law Offices
       308 E. Canedy
       Springfield, IL 62703-2202
       217-522-4411

       Douglas J. Quivey, 6225888
       Landrigan Potter & Randle PC
       1227 S. Seventh St.
       Springfield IL 62705
       217-544-9823

       Defendant Counsel:

       Samuel Postlewait, 6189229
       Winters Featherstun Gaumer Postlewait Stocks & Flynn
       225 N. Water St. Ste. 200
       Decatur IL 62525
       217-429-4453


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       I. Nature of the Case

       Plaintiff claims;

       1. he was harassed by Defendant on the basis of his race,

       2. the harassment created a hostile, intimidating or offensive environment,

       3. his race and/or having previously complained as to the racial harassment was a

motivating factor in Defendant's decision to deny Plaintiff the ready mix truck driver position, all

in violation of 42 US.C. 2000e, et seq.



       The Defendant denies Plaintiffs claims and affirmatively states it took prompt remedial

action to address Plaintiffs complaints.



       n.   Joint Statement

       A. Jurisdiction

       1. This is an action for damages brought pursuant to 42 US.c. 2000e, et seq.

       2. The personal and subject matter jurisdiction of this Court is not disputed and is

invoked under 28 US.C. 1343.



       B. Uncontested Issues of Fact

       1. Defendant, Christy-Foltz, is a closely held family corporation located in Decatur,

Illinois. Defendant created and owns Decatur Construction Services, Inc., d/b/a Grohne Concrete

Products (a ready mix company) and which utilizes employees of Defendant to conduct its

business.


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        2. At all times relevant, Ron Grigg was the plant manager and was acting within the

scope of his employment.

        3. In 2007, Defendant had approximately 130 employees; approximately 15 - 18 of the

employees were truck drivers, the numbers vary at any given time depending on season and

demand.

       4. There are three categories of truck drivers at Defendant; ready mix drivers,

construction drivers, and material haulers. All are members of the Teamsters Union.

        5. Three Teamster contracts govern: one for ready mix drivers, one for construction

drivers, and one for material hauler drivers.

        6. The African-American population of Decatur in 2007 was 15.7%.

       7. Since 2007, Plaintiff was the only African-American truck driver who worked for

Defendant, although other African-Americans have worked for Defendant in craft positions.

       8. The filling of craft positions in governed by a union hiring hall.

       9. Defendant is free to decide who to hire as truck drivers.

        10. In August, 2007, another truck driver, Gary Roberts, called Barbee a "nigger" -

according to Roberts he called Plaintiff "a dumb nigger."

        11. In August, 2007, Aldrich, a coworker of Plaintiff, used the word "nigger" when

Plaintiff was not present.

        12. Roberts and Aldrich each received a 5 working day suspension, a week off without

pay, for the use of the word "nigger."

       13. Defendant did not grant Plaintiffs October 11,2007, request to transfer to a ready

mix truck driver position.


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       C. Contested Issues of Fact

       1. Whether Defendant by and through its employees created a racially hostile work

environment for Plaintiff?

       2. Whether in October, 2007, Plaintiff found a noose at the work place?

       3. Whether later in October, 2007, Plaintiff found a second noose at the workplace?

       4. Did Defendant have a written anti-discrimination policy in effect on June 1,2007 or

any other relevant time?

       5. Did Defendant ever follow that written policy?

       6. Whether Defendant's policies or actions to prevent racial discrimination were

reasonable?

       7. Did Plaintiff ever refer to himself or other African Americans in a racially derogatory

manner?

       8. Whether Plaintiff's race was a motivating factor in Defendant's denying him the ready

mix tmck driver position?

       9. Whether Plaintiff's complaining about the racial harassment was a motivating factor in

Defendant's denying Plaintiff the ready mix concrete tmck driver position?

       10. Whether Defendant loaned employees other than Plaintiff money?

       11. Whether employees other than Plaintiff were "banned" from certain jobs?

       12. If Plaintiff proves his case, how much is he entitled to for emotional pain and

suffering?

       13. If Plaintiff proves his case how much is he entitled to for lost wages?

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        14. Was the conduct of Defendant or its managerial employees toward Plaintiff in

reckless disregard of his rights?

        15. If the conduct of Defendant or its managerial employees was done in reckless

disregard of Plaintiffs rights how much is he entitled to in punitive damages?

        16. Whether the conduct claimed to be harassing was sufficiently severe or pervasive that

a reasonable person in Plaintiffs position would find Plaintiffs work environment to be hostile

or abusive?

        17. Whether Plaintiff was subjected to harassment based on race?

        18. Whether at the time that the alleged harassing conduct allegedly occurred, Plaintiff

believed that the conduct made his work environment hostile or abusive?

        19. Whether Defendant took reasonable steps to correct the situation or prevent the

alleged harassment from recUlTing?

       20. Whether either of the objects Plaintiff claims to have been a noose as referenced in 2

and 3 above, were directed at Plaintiff or meant to intimidate Plaintiff, or to convey any racial

meaning?

       21. Whether either obj ect claimed to be a noose by the Plaintiff had any utility in the

workplace or was made for a purpose wholly unrelated to Plaintiff and his race?

       22. Excepting the isolated racial slur of Gary Roberts in August 2007 to Plaintiff,

whether Plaintiff has fabricated any other conduct claimed by Plaintiff to be harassing for

purposes of financial gain in connection with this lawsuit?




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       23. Whether Defendant's failure to grant Plaintiffs request to transfer to a ready mix

driver position October 2007 was because of his race or because of his complaining about

harassment or whether Defendant would have denied such request even if Plaintiff had not

complained about harassment.




       D. Contested Issues of Law

       1. Those issues associated with instmctions offered by Plaintiff and Defendant (burden

of proof on Element 7 of Plaintiffs instmction No. 18(a); requirement that vicarious liability for

punitive damages arise out of conduct of managerial employee, Defendant's Instmction No.4.)

       2. Whether a statutory cap on compensatory and punitive damages applies to this case.

42 USCA §1981(a) and (b).

       3. Whether punitive damages can by imposed on Defendant due to acts of non-

managerial employees when Defendant knew or should have known of the acts of non-

managerial employees.




       E. Plaintiff demanded a jury.




       III. Plaintiff's Statement of Damages

       Plaintiff seeks compensatory and punitive damages as a result of the harassment and as a

result of being denied the ready mix tmck driver position. Compensatory damages include

emotional pain and suffering, back pay and future lost wages.


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       Plaintiff also seeks attorney fees and costs.




       IV. Exhibits Attached

       The following are attached as exhibits to this order and are made a part hereof:

       A. Stipulation of Uncontested facts (signed by all parties).

       B. Plaintiff's Witness List

       C. Defendant's Witness List

       D. Plaintiff's Exhibit List

       E. Defendant's Exhibit List

       F. Plaintiff's Proposed Instructions

       G. Defendant's Proposed Instructions




       V. Limitations, Reservations and Other Matters

       A. Trial Date. Trial of this cause is set on October 18, 2010.

       B. Length of Trial. The probable length of trial is 4 days.



       IT IS UNDERSTOOD BY THE PARTIES THAT:

       The plaintiff is limited to 1 expert witnesses whose name and qualifications have been

disclosed to the defendant. The defendant is not allowed any expert witnesses.




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            A party may supplement a list of witnesses or exhibits only upon good cause shown in a

motion filed and served upon the other parties prior to trial; except that, upon the development of

testimony fairly shown to be unexpected, any party may, with leave of court, call such contrary

witnesses or use such exhibits as may be necessary to counter the unexpected evidence, although

not previously listed, and without prior notice of any other party.

            It is mutually estimated that the length of trial may not exceed 4 full days.

            This pretrial order may be modified at the trial of the action, or prior thereto, to prevent

manifest injustice. Such modification may be made either on motion of counsel for any party or

on the Court's own motion.

            There is reserved to counsel for the respective parties the right to submit supplemental

proposals for instructions during the course of the trial or at the conclusion of the evidence on

matters that could not reasonably have been anticipated.




            DATED: -----'---1:--'-1'--------
                                                          s/Michael P. McCuskey

                                                           DIS ~RICT JUDGE
                                                           UNITED STATES DISTRI

                                                           APPROVED AS TO FORM AND SUBSTANCE:




                                                           ATTORNEY FOR DEFENSE
C:IM y DocsIFcIBarbee.FinaIPretriaIOrder. wpd




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                               CENTRAL DISTRICT OF ILLINOIS
                                    URBANA DIVISION

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       Defendant.                               )

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 ~~
Attorney for Plamtlff                                         Attorney for Defendant




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     DUE TO PRIVACY ISSUES THE WITNESS

    LISTS HAVE BEEN REMOVED FROM THE

              FINAL PRETRIAL ORDER



     THE WITNESS LISTS WILL BE MAILED

     CONVENTIONALLY TO ATTORNEYS OF

        RECORD AND/OR PRO SE PARTIES
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                                     EXHIBIT LIST FOR PLAINTIFF


Case Name: Barbee v. Christy-Foltz, Inc.              Case No.: 09-CV-2056         Page _ _ of _ _


 No.:                     Description                         Admit          Authentication     Objection
                                                             Without            Waived
                                                             Objection

1.        Letter regarding discipline given Roberts      X
          regarding use of the word "nigger".

2.        Notes of August 20,2007, meeting of            X
          Schiuzler, Grigg and Plaintiff.

3.        First Noose                                    X

4.        Second Noose                                   X

5.        Picture of Noose No.1                          X

6.        Picture of Noose No.2                          X

7.        Non-discrimination and anti-harassment         X
          policy

8.        10-11-2007 Driver's log requesting job with    X
          note.

9.        Letter from Ron Grigg to Terry Aldrich         X
          dated August 1, 2003.

10.       Records regarding loan made to Gary            X
          Roberts.

11.       Resume of Christopher Benson                                                        Foundation

12.       Records re: ready mix drivers pay




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                                     EXHIBIT LIST FOR DEFENDANT

rase Name: Barbee v. Christy-Foltz, Inc.l¢ase No.: 09-CV-2056               ~age        of

     No.                 Description                   Admit Without   Authentication            Objection
                                                         Objection        Waived
1.         !Photograph of Donny Kuhle in doorway                                                        X.
           pf batch office (Deposition Exhibit 1, 1-
           ~9-10)                                                                            -Io~J)~
~.         Non-Discrimination and Anti-                                                                           I
           ~arassment Policy (Deposition Exhibit
           12. 1-29-10)                                     X
B.         IEmp10yee Safety Rules (Deposition
           Exhibit 3 1-29-10)                               X
~.         !Photograph of sash cord with one end
           fwrapped to resemble a noose in batch
           bffice (Deposition Exhibit 4 1-29-10)             X
~.         !Photograph of rope on batch plant wall
           ~ith one end wrapped utilizing slip knot
           ~nd other end wrapped to form a loop
                                                             )<
             Deposition Exhibit 5.1-29-10)
6.         !Photographs showing Grohne Concrete                                                     y:.
           Products premises (Deposition Exhibit

                                                                                         ~
           ~, 1-29-10) (either as a group of
           separately)
7.         Notes of August 20, 2007 meeting of
           Schinzler, Grigg and Plaintiff
             Deposition Exhibit 7 1-29-10)
                                                            )<.
8.          :Iauling and Stockpiling Agreement
           petween Christy-Foltz, Inc. and
           lTeamsters Local Union No. 279 dated
           6-24-07 (Deposition Exhibit 8 1-29-10)           )<
~.         !Letter to Jerry Conner from Plaintiff                                                   X
           ~ated 8-20-07 (Deposition Exhibit 9, 1-
           129-10)                                                                           A   fI~A        -'

10.        !Letter to Ron Grigg from Plaintiff dated                                                              J
           ~-15-07 (Deposition Exhibit 10, 2-24-
           10)                                              X
11.        V\pplication for Employment of Plaintiff
           ~ated 3-11-04 (Deposition Exhibit 11,
           ~-24-10)                                          X
12.        lLetter to Gary Roberts from Ron Grigg
           ~ated 8-14-07 (Deposition Exhibit 12,
           B-19-10)                                          X
13.        Photograph of rope on batch wall
            Deposition Exhibit 13 3-19-10)                  X
14.        Rope from batch plant wall (Deposition           )(



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        ~xhibit 14,3-19-10)
15.     ~ash cord from batch office (Deposition
        Exhibit 15, 3-31-10)                          X
                                                               ~~ •()7i-L ,
16.     Notes of Ron Grigg (first two pages of
        beposition Exhibit 16 3-31-10)
17.     Driver's Log requesting job change to                  tJ
         eady mix driver dated 10-11-07 with
        note (Page 3 of Deposition Exhibit 16,
        ~-3l-10)                                     'X
18.     Driver's Log requesting job change to
         eady mix driver dated 10-11-07
        broduced bv Plaintiff                        X
19.     [Record of cash in advance loan to
        Plaintiff dated 8-8-07                        )(
~O.     Record of $700.00 loan to Plaintiff paid
        3-21-07                                       X
[:11.   ~-2l-06 record ofloan to Plaintiff           X
~2.     Payroll records of Defendant relevant to                    X
        past or future wage claim, job transfer
        'ssue as included in Defendant's                      ~~ /~::l: l-t.~
                                                                         ~n
        production




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